           Case 1:18-cr-00056-DAD-SKO Document 62 Filed 06/25/19 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8
                         UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           Case No. 1:18-cr-00056-LJO-SAB

12                  Plaintiff,                           ORDER REQUIRING DEFENDANT TO
                                                         SHOW CAUSE WHY SANCTIONS
13           v.                                          SHOULD NOT ISSUE FOR FAILURE TO
                                                         TIMELY WAIVE PERSONAL
14   PARAMJIT SINGH MANGAT,                              APPEARANCE

15                  Defendant.                           FIVE DAY DEADLINE

16

17          On June 20, 2019, Defendant Paramjit Singh Mangat filed a motion for bail review.

18 (ECF No. 58.) An amended motion was filed on this same date. (ECF No. 59.) The matter was

19 set on calendar for June 24, 2019, at 2:00 p.m. On June 24, 2019, at 1:55 p.m., Defendant filed a
20 waiver of personal appearance for the hearing. (ECF No. 60.) Due to the delay in filing the

21 waiver of personal appearance, the Court had incurred the costs of $147.00 for providing a

22 translator for the June 24, 2019 hearing.

23          Pursuant to the Local Rules of the Eastern District of California, defense counsel in

24 criminal actions are required to promptly notify the Court if an interpreter is needed or to cancel

25 the interpreter if a hearing is cancelled or rescheduled. L.R. 403(b). Unjustified failure to notify

26 court staff may result in the imposition of sanctions, including an order to pay the costs of
27 interpreter services. L.R. 403(d).

28          Here, due to the failure to promptly waive personal appearance of the defendant, an


                                                     1
            Case 1:18-cr-00056-DAD-SKO Document 62 Filed 06/25/19 Page 2 of 2


 1 interpreter was ordered and appeared in Court. Accordingly, IT IS HEREBY ORDERED that

 2 Defendant shall show cause in writing within five (5) days of the date of entry of this order why

 3 sanctions of $147.00 should not be imposed for the failure to promptly notify the Court that a

 4 translator was not needed for the June 24, 2019 hearing.

 5
     IT IS SO ORDERED.
 6

 7 Dated:     June 25, 2019
                                                       UNITED STATES MAGISTRATE JUDGE
 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26
27

28


                                                   2
